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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAI`I

                                     )
 UNITED STATES OF AMERICA,           )
                                     )
       Plaintiff,                    )
                                     )
       v.                            ) Cr. No. 97-01117 ACK-2
                                     )
 HECTOR LOPEZ,                       )
                                     )
       Defendant.                    )
                                     )
                                     )


            ORDER GRANTING MOTION FOR COMPASSIONATE RELEASE

             For the reasons set forth herein, the Court GRANTS

Petitioner Hector Lopez’s Motion for Compassionate Release, ECF

No. 340, and sentences Petitioner Hector Lopez to a term of TIME

SERVED, with supervised release for five years to follow on the

terms previously imposed.



                                 BACKGROUND

             On October 8, 1997, Petitioner Hector Lopez was

charged by a federal grand jury with conspiracy to distribute

more than 1 kilogram of heroin, relieving and assisting co-

defendant Francisco Davalos in the use and possession of a

firearm during and in relation to a drug-trafficking crime which

resulted in the murder of Arturo Renteria-Hernandez, and

carrying and using a firearm during and in relation to a drug-


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trafficking crime and causing the first degree murder of

Renteria-Hernandez.      ECF No. 1.    The indictment was superseded

to charge Lopez with: Count 1: Conspiracy to Distribute 1

kilogram or more of Heroin; Count 2: Conspiracy to Distribute

more than 100 grams of Heroin; Count 4: Rendering Aid and

Comfort to Francisco Davalos that Davalos Had Committed the

Murder of Arturo Renteria-Hernandez; and Count 5: Carrying and

Using a Firearm During and In Relation to the Count 2 Drug

Trafficking Conspiracy, and in the Course of that Violation

Committing the First Degree Murder of Armando Renteria-

Hernandez.     ECF No. 207.

             On September 25, 1998, following a 9-day jury trial,

Lopez was convicted of all four counts.          ECF No. 247.     He was

sentenced to a term of imprisonment of 151 months for Counts 1,

2, and 4, to be served concurrently, and life imprisonment for

Count 5, to run consecutive to the 151-month sentence for the

other counts.     ECF No. 271.    Lopez was also subject to a

detainer requiring him to submit to deportation proceedings if

ever released.     Presentence Report, ECF No. 283.

             Since 2015, Lopez has filed a handful of motions

seeking a reduced sentence.       The Court has denied each of them.

First, the Court denied Lopez’s July 2015 motion under Amendment

782 to the United States Sentencing Guidelines because Lopez did

not qualify for a reduction in light of his life sentence on

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Count 5.    ECF Nos. 314, 315, 321.         Second, the Court denied

Lopez’s July 2016 motion—which was based on a Supreme Court

decision invalidating a provision of the Armed Career Criminal

Act (“ACCA”)—because Lopez’s sentence was not enhanced based on

ACCA.    ECF Nos. 322, 328.     Third, the Court denied Lopez’s June

2019 motion under the so-called Holloway Doctrine because the

doctrine had not been adopted in this circuit, and the Court

lacked authority under the doctrine in the face of the

Government’s opposition.       ECF Nos. 331, 337.

            On June 8, 2020, Lopez filed the now-pending motion

for compassionate release under 18 U.S.C. § 3582(c)(1)(A), as

amended by the First Step Act (the “Motion”).           ECF Nos. 340,

341.    Lopez argues that the significant changes he has made

during his incarceration qualify as “extraordinary and

compelling” reasons for reducing his sentence to time-served.

Because Lopez has served more than 151 months in prison, he has

completed his sentence for Counts 1, 2, and 4; the Court must

thus consider whether to reduce his life sentence on Count 5.

            The Government filed its opposition to Lopez’s Motion

on July 22, ECF No. 345, and Lopez filed his reply on August 6,

ECF Nos. 346-349, and a supplemental reply on September 1, ECF




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No. 350. 1/    The Court elects to decide the matter without a

hearing pursuant to District of Hawaii Local Rule 7.1.



                                   STANDARD

              Lopez asserts that extraordinary and compelling

reasons warrant compassionate release under 18 U.S.C.

§ 3582(c)(1)(A), as amended by the First Step Act of 2018, Pub.

L. No. 115-391, 132 Stat. 5194 (Dec. 21, 2018).           The relevant

provision provides in pertinent part:

      The court may not modify a term of imprisonment once
      it has been imposed except that—

              (1)   in any case—

                    (A)   the court, upon motion of the Director
                          of the Bureau of Prisons, or upon
                          motion of the defendant after the
                          defendant has fully exhausted all
                          administrative rights to appeal a
                          failure of the Bureau of Prisons to
                          bring a motion on the defendant’s
                          behalf or the lapse of 30 days from the
                          receipt of such a request by the warden
                          of the defendant’s facility, whichever
                          is earlier, may reduce the term of
                          imprisonment (and may impose a term of
                          probation or supervised release with or
                          without conditions that does not exceed
                          the unserved portion of the original
                          term of imprisonment), after
                          considering the factors set forth in
                          section 3553(a) to the extent that they
                          are applicable, if it finds that—


      1/ The Court will not consider the September supplemental reply, as it

was filed without leave of the Court. See L.R. 7.2 (providing that, aside
from an opposition and reply, “[n]o further or supplemental briefing shall be
submitted without leave of court.”).

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                        (i)      extraordinary and compelling
                                 reasons warrant such a reduction

                        ...

                        and that such a reduction is consistent
                        with applicable policy statements
                        issued by the Sentencing Commission[.]


            Thus, courts may grant compassionate release upon

finding “extraordinary and compelling” reasons that are

consistent with the applicable policy statements of the

Sentencing Commission:

            [T]he court may reduce a term of imprisonment (and
            may impose a term of supervised release with or
            without conditions that does not exceed the
            unserved portion of the original term of
            imprisonment) if, after considering the factors
            set forth in 18 U.S.C. § 3553(a), to the extent
            that they are applicable, the court determines
            that—

                  (1)   (A) Extraordinary and compelling reasons
                        warrant the reduction;

                        . . .

                  (2)   The defendant is not a danger to the
                        safety of any other person or to the
                        community, as provided in 18 U.S.C. §
                        3142(g); and

                  (3)   The reduction is consistent with this
                        policy statement.

United States Sentencing Guidelines (“USSG”) § 1B1.13.            As to

what constitutes “extraordinary and compelling reasons,” the

policy statement notes provide three specific examples: (A) a

medical condition of the defendant; (B) age of the defendant;

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and (C) family circumstances.        USSG § 1B1.13 n.1.     The notes

also provide a fourth, catch-all provision giving the Bureau of

Prisons (“BOP”) Director discretion: “(D) Other Reasons.             As

determined by the Director of the Bureau of Prisons, there

exists in the defendant’s case an extraordinary and compelling

reason other than, or in combination with, the reasons described

in subdivisions (A) through (C).”           Id.

            The Sentencing Commission’s policy statement has not

been updated since Congress passed the First Step Act in 2018.

The failure to do so raises a question about the extent of a

district court’s discretion in granting compassionate release.

Previously, motions for compassionate relief could only be

brought by the Director of the BOP.           With the passage of the

First Step Act, individual defendants may now move the court for

compassionate relief after meeting the exhaustion requirement. 2/

This change has divided courts on whether the catch-all

provision still requires deference to the Director of the BOP,

or whether courts may now exercise their own discretion to

determine what other reasons may qualify as extraordinary and


      2/Prior to this change, the BOP rarely sought compassionate release.
“From 1984 to 2013, an average of only 24 inmates were released each year
through BOP-filed motions,” and it was against this backdrop that “Congress
passed and President Trump signed the First Step Act in 2018, a landmark
piece of criminal-justice reform legislation” that, among other things,
“remov[ed] the BOP’s exclusive ‘gatekeeper’ role” and “explicitly sought to
improve the compassionate release process of the Bureau of Prisons.” United
States v. Rodriguez, 451 F. Supp. 3d 392, 395-96 (E.D. Pa. 2020) (citations
omitted).


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compelling.     Hirano v. United States, No. CR 99-00465 ACK, 2020

WL 1861659, at *2 (D. Haw. Apr. 13, 2020).

            The Court agrees with the “growing majority of

courts”—including a number of courts in this district—that “the

USSG policy statement does not limit the court’s independent

assessment of whether extraordinary and compelling reasons

exist.”    United States v. Hernandez, No. CR 13-00511(1) JMS,

2020 WL 3453839, at *4 (D. Haw. June 24, 2020); see also United

States v. Ogata, No. CR 12-00190 HG-01, 2020 WL 5579546, at *3

(D. Haw. Sept. 17, 2020); United States v. Cisneros, No. CR 99-

00107 SOM, 2020 WL 3065103, at *2 (D. Haw. June 9, 2020).             But

see United States v. Kealoha, No. CR 04-00265 DKW, 2020 WL

3735773, at *5 (D. Haw. July 6, 2020) (“declin[ing] to subscribe

to that rationale”).

            Courts exercising that discretion vary on what reasons

qualify as “extraordinary and compelling.”          Congress has never

defined the term, except to state that “[r]ehabilitation of the

defendant alone shall not be considered an extraordinary and

compelling reason.”      28 U.S.C. § 994(t).      That said, even though

it may not be the only factor, rehabilitation is still relevant

to determining whether compassionate release is warranted.             See

United States v. Millan, No. 91-CR-685 (LAP), 2020 WL 1674058,

at *7 (S.D.N.Y. Apr. 6, 2020) (“[L]egislators’ use of the

modifier ‘alone’ evidences that they believed that

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rehabilitation is relevant to the question of whether a sentence

should be reduced and that rehabilitation, when considered

together with other equitable factors, could constitute

‘extraordinary and compelling reasons’ for a sentence

reduction.”); see also United States v. Torres, No. 87-CR-593

(SHS), 2020 WL 2815003, at *8 (S.D.N.Y. June 1, 2020)

(collecting cases).

            Because Lopez is pro se, the Court construes his

motion liberally.      Erickson v. Pardus, 551 U.S. 89, 94, 127 S.

Ct. 2197, 2200, 167 L. Ed. 2d 1081 (2007); see also United

States v. Seesing, 234 F.3d 456, 462 (9th Cir. 2000) (“Pro se

complaints and motions from prisoners are to be liberally

construed.” (citations omitted)).



                                 DISCUSSION

            At the outset, the Court notes that § 3582(c)(1)(A)

includes an exhaustion requirement.         The Government affirms that

Lopez has met the exhaustion requirement, Opp. at 2-3, and the

Court accordingly finds the exhaustion requirement satisfied.

The Government otherwise opposes Lopez’s Motion.

            Considering the circumstances here, the Court finds

that Lopez merits a compassionate release because of his

extraordinary rehabilitation and because of numerous additional

factors that favor compassionate release.          The Court first

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addresses Lopez’s extraordinary rehabilitation and then turns to

the additional factors supporting a compassionate release.

   I.        Lopez’s Extraordinary Rehabilitation

               Despite his life sentence, Lopez has used his nearly

quarter-century of incarceration thus far to better himself

through extensive investment in the rehabilitative programming

available to him. 3/

               As some examples of Lopez’s many achievements, Lopez

has completed an eighteen-month life connections program with

honors.       Lopez earned an “Inspiration Award” in connection with

the program and received written feedback that he “may actually

be the most reflective student in class based on [his] workbook

journal entries.”       ECF No. 331-3 & 331-4.     Lopez completed a

non-residential drug abuse program through the BOP Psychology

Services, and completed groups in areas such as anger management

and criminal thinking.       ECF No. 331-9.    Lopez has participated

in the rehabilitation program Reaching Out From Within, ECF No.



        3/
        A court in the Southern District of New York has likewise commended
the choice of a defendant who dedicated himself to rehabilitation “despite
having had no realistic hope of release.” United States v. Millan, No. 91-
CR-685 (LAP), 2020 U.S. Dist. LEXIS 59955, at *26-27 (S.D.N.Y. Apr. 6, 2020)
(granting compassionate release to a defendant faced with a life sentence
because: “Mr. Millan has done everything in his power to rehabilitate
himself, as demonstrated by his genuinely exceptional accomplishments and
meritorious prison record. He is remorseful and contrite and has fully
accepted responsibility for his crimes. In the almost three decades that he
has been incarcerated, Mr. Millan has conducted himself as a model prisoner
and demonstrated exceptional character. He has developed into a man of great
faith and a leader of the religious community at FCI Fairton and has
demonstrated a commitment to working worth at-risk youth and suicide-
prevention.”).

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 331-10, and completed a twenty-eight week “Men of Influence”

 class, ECF No. 331-15.

              Lopez has also participated in the reentry committee

 through which he takes classes and assists in the set up and

 execution of reentry classes and events.         ECF No. 340 at 30, 35,

 48.   Lopez is a current and active participant in Narcotics

 Anonymous and Alcoholics Anonymous programs, id. at 30, 52, as

 he has been for years, ECF Nos. 331-12 & 331-13.           He also

 maintains universally good participation in the BOP’s psychology

 services.    ECF No. 340 at 32-33.

              Lopez has further completed an extensive array of

 educational programs.      These programs have covered topics

 ranging from public speaking and American Sign Language, to

 welding and operating heavy equipment, to money management and

 economics.     ECF No. 340 at 30, 35-36; see also ECF No. 331-17.

 He has obtained certifications from rehabilitative vocational

 programs, including 150 hours spent obtaining a custodial

 maintenance certification from a community college, and

 obtaining a certification from a course in commercial driver’s

 licenses.    ECF No. 331-8.     Although his educational pursuits

 have been stymied by the prison lockdown in response to the

 COVID-19 pandemic, Lopez has striven to continue his growth and

 education through self-study programs.         ECF No. 340 at 31, 35.



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             Even beyond these impressive certifications and

 sessions, Lopez represents that he has achieved a personal

 religious transformation.       He has completed certifications

 through a ministry correspondence program and bible study

 lessons.    Id. at 30-31, 39, 41-45.        He also completed numerous

 units in a faith-based correspondence school, ECF No. 331-5, in

 addition to completing other Christian Faith courses, ECF No.

 331-14.    Lopez’s religious dedication is not limited to

 education either; letters written on his behalf emphasize the

 personal transformation Lopez has found through religious

 practice. 4/

             Besides his educational and religious transformation,

 Lopez also acknowledges the substantial harm he caused and

 exhibits remorse.     His Motion addresses “the pain and mental

 [anguish] that [the victim’s] family felt, and still feels,

 because of [his] selfish life choices.”          ECF No. 341.     Lopez

 speaks to the regret he feels “for the day he made the poorest


       4/See ECF No. 341-1 at 4 (letter from Lopez’s father stating, “Hector
 is an amazing man of faith who always is talking about God during our visits
 or conversations. I feel very, very blessed to see my son so transformed by
 his faith in God.”); 341-1 at 6 (letter from Lopez’s sister, describing “how
 much my brother Hector has changed” and is now “a man of God” who “gives us
 advice[] and tells [us] to do good”); 341-1 at 8 (letter from friend
 referencing Lopez’s “strong religious beliefs which makes him a person with a
 high attention to God”); 341-1 at 10 (letter from friend stating that
 “Lopez’s faith in God is huge” and Lopez would frequently offer him
 blessings); 341-1 at 15 (letter from friend stating that Lopez now “accepts
 full responsibility for his decisions and has given his life to Jesus
 Christ,” and that “God has changed him into a new man”); 341-1 at 16 (letter
 from brother, who did not see Lopez from the time of arrest until 2015, and
 in 2015 found Lopez to be “a changed person [who] talked to me about god and
 to behave,” noting Lopez had “dedicated his life to Christ”).

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 decision of his life,” and although he states a desire to share

 his deep regret with the victim’s family, because he “was

 advised to ‘not’ contact the victim’s family to express his

 remorse to them, he has spent every day of his life trying to

 heal (families and individuals) and do everything he can to

 restore life.”     ECF No. 340 at 7-8.       Although self-serving,

 these statements are buttressed by Lopez’s already-extensive

 rehabilitation.     The Court finds that Lopez’s remorse, and his

 choice to direct that remorse towards helping others going

 forward, support his request for compassionate release.

             “[R]ightly or wrongly, this country’s criminal justice

 system is premised on the idea that a person can—and hopefully

 will—change after several years locked in prison.”           United

 States v. Ledezma-Rodriguez, No. 3:00-CR-00071, 2020 WL 3971517,

 at *6 (S.D. Iowa July 14, 2020).         “The BOP tries to facilitate

 this through classes, case managers, reentry programs, time

 credits, and security classifications,” which Lopez has taken

 full advantage of.     Id.      That, together with his spiritual and

 moral transformation, “appears to offer a success story that

 cuts in favor of extraordinary and compelling reasons

 supporting release.”      Id.

    II.   Additional Grounds Supporting a Compassionate Release

             Looking beyond Lopez’s extraordinary rehabilitation,

 the Court finds that there are several additional grounds that

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 merit compassionate release in these circumstances.           Those

 include Lopez’s youth at the time of his offense, that he does

 not have any prior criminal record, his minimal disciplinary

 record, his charity work, his informal support for other

 inmates, his services in helping at-risk youth, that he does not

 represent a danger to society, and the ongoing COVID-19

 pandemic.

             Lopez was only eighteen years old at the time of his

 crime.   “While age does not excuse behavior, a sentencing court

 should account for age when inquiring into the conduct of a

 defendant.”    Ledezma-Rodriguez, 2020 WL 3971517 at *7 (internal

 quotation marks and citation omitted) (granting compassionate

 release to a defendant with a life sentence after twenty years

 of incarceration, noting that “Defendant now is forty-seven

 years old, making him about half as likely to be convicted of a

 crime as when he was convicted of his latest offense” (citing

 U.S. Sentencing Comm’n, The Effects of Aging on Recidivism Among

 Federal Offenders at 23 (2017) (hereinafter “Effects of

 Aging”)).

             Lopez’s “relative youth at the time of the sentence”

 particularly supports compassionate release because his young

 age is coupled with an extremely long sentence.          McCoy v. United

 States, No. 2:03-CR-197, 2020 WL 2738225, at *5 (E.D. Va. May

 26, 2020) (granting compassionate release to a defendant who was

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 a teenager with no relevant criminal history at the time of his

 offenses and who had served over 17 years of his more than

 thirty-five year sentence); United States v. Maumau, No. 2:08-

 CR-00758-TC-11, 2020 WL 806121, at *5, 7 (D. Utah Feb. 18, 2020)

 (granting compassionate release based in part on the young age

 of the defendant who was twenty when arrested and twenty-four

 when sentenced).

             Lopez also has no prior criminal record.          Presentence

 Report, ECF No. 283.      In addition to making Lopez’s situation

 more compelling, this factor also decreases his likelihood of

 recidivism.    See Effects of Aging at 3 (“criminal history

 exerted a strong influence on recidivism”).

             Despite being arrested at age eighteen and then

 sentenced to life imprisonment, Lopez has maintained an

 impressive prison record with only three minor infractions

 during his twenty-three years of incarceration and no

 infractions whatsoever for the past thirteen years. 5/            ECF Nos.

 340 at 17 & 331-7.      “[M]aintain[ing] a clear disciplinary

 record” is “no minor feat in any prison,” United States v.

 Stephenson, No. 3:05-CR-00511, 2020 WL 2566760, at *7 (S.D. Iowa

 May 21, 2020), and that Lopez maintained that record in the face



       5/ Lopez’s three infractions are for an unauthorized use of mail in May

 2000, for interfering with taking count and refusing to obey an order in
 August 2005, and for possessing an unauthorized amount of cloth and
 destroying property worth less than $100 in February 2008. ECF No. 331-7.

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 of a life sentence strongly supports the likelihood that he

 would remain a rule-abiding individual if released.           See

 Ledezma-Rodriguez, 2020 WL 3971517 at *5 (granting compassionate

 release and noting that the “Defendant has not incurred a single

 disciplinary infraction since 2014, no small feat in a closely

 monitored federal prison”); United States v. Adeyemi, No. CR 06-

 124, 2020 WL 3642478, at *27 (E.D. Pa. July 6, 2020) (finding

 disciplinary record favored release based on no infractions in

 the past three years and only four minor infractions during the

 defendant’s fourteen years in prison); United States v. Marks,

 455 F. Supp. 3d 17, 27, 36 (W.D.N.Y. 2020) (granting

 compassionate release and noting the defendant’s “clean

 disciplinary record for many years past,” with no violations for

 the past seven years and no violent violations for the past ten

 years).

             Lopez has also volunteered his time while in prison to

 charity work.     Most recently, Lopez has been volunteering with

 the community service project Ronald McDonald House Charities,

 through which he makes crafts items for donation to the charity

 program.    ECF No. 340 at 31, 47.      Prior to that, Lopez did

 similar work creating items for donation to a children’s

 hospital.    ECF No. 331-19.

             Lopez’s involvement in the prison community does not

 end with his coursework and volunteer work.          Lopez also supports

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 other inmates on a personal level. 6/        The mother of a fellow

 inmate writes to the Court, “I do not have enough words to say

 how [Lopez] helps everybody who needs his support, no matter[]

 who this person is; no[] matter his condition, race, religion.”

 ECF No. 341-1 (Letter from Fanny Perez).          The letter goes on to

 note conversations with other former inmates from the prison who

 “say that Mr. Lopez is a very strong support to other inmates.”

 Id.   Indeed, another former inmate describes Lopez as “an

 inspirational model not only for me but also for other young

 inmates who had the fortune to be in contact with him.”                 ECF No.

 341-1 (Letter from Leonardo Brito).         That individual goes on to

 describe Lopez as someone who has a unique sense of empathy and

 who would give other inmates the shirt off his back.              Id.

             In addition, Lopez has exhibited a personal investment

 in helping at-risk youth avoid his same mistakes.            Lopez

 participated in a Victim Awareness Panel facilitated by a

 professor at the University of Minnesota.           ECF No. 340 at 30,

 50-51.   A thank-you card from the class indicates that Lopez

 courageously and impactfully discussed his own background. Id.

 Lopez himself also speaks positively of being able to “openly,




       6/ See United States v. Clausen, No. CR 00-291-2, 2020 WL 4260795, at *8

 (E.D. Pa. July 24, 2020) (granting compassionate release and explaining that
 “Clausen has spent the last twenty years of his life completing hundreds of
 BOP educational programs, designing and teaching his own courses, serving as
 a mentor to his peers and improving himself”).

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 honestly, and transparently share [his] life story with college

 students.”     ECF No. 341.

              Lopez also states that he wishes to have the

 opportunity to give back to his community and feels that he is

 in a position to make a difference, particularly through

 continuing his public speaking.        Id.   Lopez states that “seeing

 young people throw their lives away doing drugs and joining

 gangs makes [his] heart ache,” and he now feels “like [he] could

 actually make a positive impact in the free world.”           Id.    In

 fact, a former inmate who wrote a letter on Lopez’s behalf notes

 that Lopez “always said he want[s] to become a crime prevention

 specialist” helping “young people at risk.”          ECF No. 341-1

 (Letter from Leonardo Brito).

              The Court also finds that Lopez appears to not

 represent a danger to society.        The BOP lists Lopez’s recidivism

 level as the lowest-available option, “minimal,” ECF No. 340 at

 12, and in 2019, Lopez was transferred from a medium-security

 facility (Leavenworth) to a low-security facility (Sandstone).

 See Ledezma-Rodriguez, 2020 WL 3971517, at *8 & n.6 (“The BOP

 generally gives defendants with life sentences a ‘high’ security

 classification unless an administrator waives certain public

 safety factors,” and granting compassionate release noting that

 “[t]he BOP appears to agree that Defendant has made progress”

 since “Defendant entered the BOP with a ‘high’ security

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 classification, which recently was reduced to ‘medium.’”).

 Although Lopez’s crimes were serious and violent, those crimes

 occurred more than two decades ago and “[n]othing in [his]

 prison disciplinary record raises any concern about him having a

 continued propensity for violence.”         United States v. Clausen,

 No. CR 00-291-2, 2020 WL 4260795, at *8 (E.D. Pa. July 24,

 2020).     To the contrary, as discussed above, Lopez has

 maintained a clean record for nearly thirteen years.              The Court

 also gives weight to the fact that Lopez has no prior criminal

 history.     Presentence Report, ECF No. 283 at 21.

              The Court notes that Lopez will be deported to Mexico

 upon release.     Opp. at 2 & Presentence Report, ECF No. 283. 7/

 “[T]o the extent there are lingering public safety concerns,

 those are mooted by the fact Defendant would be deported

 following release.”      Ledezma-Rodriguez, 2020 WL 3971517, at *8.

              Finally, the COVID-19 pandemic provides an additional

 basis supporting the release of inmates who do not present a

 danger to society.     “The COVID-19 pandemic is extraordinary and

 unprecedented in modern times in this nation.           It presents a

 clear and present danger to free society for reasons that need

 no elaboration.”     United States v. Hernandez, 451 F. Supp. 3d

 301 (S.D.N.Y. 2020).      “Other courts have documented the


       7/This undermines the representation in Lopez’s Motion and some of his
 support letters that Lopez could live with his parents in Minnesota and
 assist in caretaking needs for them. ECF No. 340 at 5.

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 devastating effect that the novel coronavirus has visited upon

 society in general and the criminal justice system in

 particular.”    United States v. Williams, No. 15-20462, 2020 WL

 4040706, at *3 (E.D. Mich. July 17, 2020).          Although “the

 existence of some health risk to every federal prisoner as the

 result of this global pandemic does not, without more, provide

 the sole basis for granting release to each and every prisoner,”

 United States v. Roeder, 807 F. App’x 157, 161 n.16 (3d Cir.

 2020) (unpublished), the Court finds that it provides one more

 additional factor supporting Lopez’s already-expansive efforts.

    III. Section 3553(a) Factors

             The factors provided in § 3553(a) further counsel in

 favor of release. 8/

             The first factor looks to “the nature and

 circumstances of the offense and the history and characteristics

 of the defendant.”     18 U.S.C. § 3553(a)(1).       As alluded to

 above, this factor favors release based on Lopez’s extraordinary

 rehabilitation, as well as Lopez’s youth at the time of his

 offense, that he does not have any prior criminal record, his



       8/These factors include: “the nature and circumstances of the offense
 and the history and characteristics of the defendant; the need for the
 sentence imposed; the kinds of sentences available; the kinds of sentence and
 the sentencing range established in the Guidelines; any pertinent policy
 statement issued by the Sentencing Commission; the need to avoid unwarranted
 sentence disparities among defendants with similar records who have been
 found guilty of similar conduct; and the need to provide restitution to any
 victims.” United States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008) (en
 banc) (citing 18 U.S.C. § 3553(a)(1)–(7)).

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 minimal disciplinary record, his charity work, his informal

 support for other inmates, his services in helping at-risk

 youth, that he does not represent a danger to society, and the

 ongoing COVID-19 pandemic.

             Lopez’s decades in prison, considered alongside his

 commendable conduct during that time, also satisfies “the need

 for the sentence imposed.”       18 U.S.C. § 3553(a)(2).       Lopez has

 been imprisoned for close to a quarter of a century and the

 Court is satisfied that should serve as a deterrent to anyone

 considering committing the heinous crime Lopez was sentenced

 for.    Although the sentencing guidelines remain at “life” for

 Lopez’s crime, and although Lopez’s co-defendant remains

 imprisoned, the Court finds that these concerns are outweighed

 by the other factors in Lopez’s case, as discussed throughout

 this Order. 9/   See 18 U.S.C. § 3553(a)(4)-(6) (considering the


        9/
         The Court notes that Lopez’s co-defendant has not moved for release
 and it is thus not clear whether, considering their respective conduct since
 imprisonment, the Court would find the defendants’ records to be “similar.”
       The Court further notes that, although numerous cases granting
 compassionate release rely on subsequent changes in sentencing laws not
 applicable in this case, a change in sentencing laws is by no means a
 requirement in granting compassionate release. See United States v. Torres,
 No. 87-CR-593 (SHS), 2020 WL 2815003 (S.D.N.Y. June 1, 2020) (granting
 compassionate release to two brothers who had been sentenced to life
 imprisonment without parole based on (1) rehabilitative efforts; (2)
 involvement in the community while incarcerated, including working with high
 risk youth, serving as unofficial mentors, acting as religious leaders, and
 indicating a commitment to further community service if released; and (3)
 COVID-19); United States v. Millan, 2020 U.S. Dist. LEXIS 59955 (S.D.N.Y Apr.
 6, 2020) (granting compassionate release to a defendant who had been
 sentenced to life imprisonment without any discussion of subsequent changes
 in sentencing laws); United States v. Rodriguez, 451 F. Supp. 3d 392 (E.D.
 (Continued . . .)


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 kinds of sentence and sentencing range established, any

 pertinent policy statement, and the need to avoid unwarranted

 sentencing disparities among defendants with similar records).



                                 CONCLUSION

             In sum, the Court finds that Lopez has demonstrated

 extraordinary and compelling reasons that warrant compassionate

 release based on his extraordinary rehabilitation and numerous

 additional factors—specifically, his youth at the time of his

 offense, that he does not have any prior criminal record, his

 minimal disciplinary record, his charity work, his informal

 support for other inmates, his services in helping at-risk

 youth, that he does not represent a danger to society, and the

 ongoing COVID-19 pandemic.       The § 3553(a) factors also support

 compassionate release.      Accordingly, Petitioner Hector Lopez’s

 sentence is hereby reduced to TIME SERVED, with supervised




 Pa. 2020) (granting compassionate release to a defendant who had been
 sentenced to twenty years based on rehabilitation and the COVID-19 pandemic,
 without any discussion of a subsequent change in sentencing laws).
       The Court likewise notes that compassionate release is available even
 where a defendant was sentenced to life without parole. See, e.g., United
 States v. Luna, No. 90-CR-00392-PJH-1, 2020 WL 4696621 (N.D. Cal. Aug. 13,
 2020); United States v. Tidwell, No. CR 94-353, 2020 WL 4504448 (E.D. Pa.
 Aug. 5, 2020); United States v. Torres, No. 87-CR-593 (SHS), 2020 WL 2815003
 (S.D.N.Y. June 1, 2020); United States v. Mondaca, No. 89-CR-0655 DMS, 2020
 WL 1029024 (S.D. Cal. Mar. 3, 2020).

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 release for five years to follow on the terms previously

 imposed. 10/



             IT IS SO ORDERED.

             DATED:   Honolulu, Hawai`i, October 27, 2020.




                                    ________________________________
                                    Alan C. Kay
                                    Sr. United States District Judge


 United States of America v. Lopez, Cr. No. 97-01117 ACK-2, Order Granting
 Motion for Compassionate Release.
        10/ However, as previously noted, it is probable he will be deported to

 Mexico on release from prison. The terms of supervised release are as
 follows. Lopez has two special conditions of supervision: (1) that he is
 prohibited from possessing any illegal or dangerous weapons; and (2) that he
 must comply with the requirements of the Department of Homeland Security
 (DHS), including submitting to deportation proceedings and not reentering the
 U.S. without proper authorization. Judgment, ECF No. 273. The Court notes
 that Mr. Lopez’s judgment, entered in 1999, referred to compliance with the
 Immigration and Naturalization Service (INS), and the Court now updates this
 requirement to require compliance with the now-relevant agency, DHS.
        In addition, and as stated in the Judgment, Lopez must report to the
 probation office in the district to which he is released within 72 hours of
 release from the custody of the Bureau of Prisons; he shall not commit
 another Federal, State, or local crime; he shall not possess a controlled
 substance; and he shall not possess a firearm as defined in 18 U.S.C. § 921.
 Judgment, ECF No. 273. Furthermore, the standard conditions of supervision
 entered in Lopez’s Judgment are as follows:
    1. the defendant shall not leave the judicial district without permission
        of the court or probation officer;
    2. the defendant shall report to the probation officer and shall submit a
        truthful and complete written report within the first five days of each
        month;
    3. the defendant shall answer truthfully all inquiries by the probation
        officer and follow instructions of the probation officer;
    4. the defendant shall support his or her dependents and meet other family
        responsibilities;
    5. the defendant shall work regularly at a lawful occupation unless excused
        by the probation officer for schooling, training or other acceptable
        reasons;
    6. the defendant shall notify the probation officer ten days prior to any
 (Continued . . .)


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        change in residence or employment;
    7. the defendant shall refrain from excessive use of alcohol;
    8. the defendant shall not frequent places where controlled substances are
        illegally sold, used, distributed, or administered;
    9. the defendant shall not associate with any persons engaged in criminal
        activity, and shall not associate with any person convicted of a felony
        unless granted permission to do so by the probation officer;
    10. the defendant shall permit a probation officer to visit [at any time,
        at] home or elsewhere and shall permit confiscation of any contraband
        observed in plain view of the probation officer;
    11. the defendant shall notify the probation officer within seventy-two
        hours of being arrested or questioned by a law enforcement officer;
    12. the defendant shall not enter into any agreement to act as an informer
        or a special agent of a law enforcement agency without the permission
        of the court;
    13. as directed by the probation officer, the defendant shall notify third
        parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics, and shall permit the
        probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.
 Judgment, ECF No. 273.

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